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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiffs,          )
                                        )                 4:06CR3023
             V.                         )
                                        )
SHAWN TULL,                             )
                                        )                   ORDER
                   Defendant.           )

      I held a telephone conference with counsel today. Upon oral motion of
defense counsel, and without objection from government’s counsel,

       IT IS ORDERED that:

     (1) The defendant has until close of business on March 5, 2007, to file a
motion for departure or variance based upon a physical or mental disability;

       (2)   Sentencing is continued to Friday, March 9, 2007, from 12:00-1:00
p.m.

       January 19, 2007.               BY THE COURT:

                                       s/ Richard G. Kopf
                                       United States District Judge
